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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  KÉTO NORD HODGES, et al.,

        Plaintiffs,

  v.
                                              Case No. 8:24-cv-879-CEH-TPB-ALB
  BEN ALBRITTON, in his official
  capacity as President of the Florida
  Senate, et al.,

        Defendants.
                                         /

       PRESIDENT ALBRITTON’S MOTION FOR SUMMARY JUDGMENT
              AND INCORPORATED MEMORANDUM OF LAW

                                     Introduction

        Florida’s congressional and state senate elections in 2016, 2018, and 2020

  were conducted under court-ordered maps imposed after nearly four years of

  litigation involving claims of partisan gerrymandering. See League of Women Voters

  of Fla. v. Detzner, 179 So. 3d 258 (Fla. 2015) (approving remedial congressional

  plan); League of Women Voters of Fla. v. Detzner, No. 2012-ca-2842 (Fla. 2d Cir. Ct.,

  Dec. 30, 2015) (adopting remedial senate plan). Following the 2020 Census, the

  Florida Senate adopted redistricting procedures intended to avoid a similar result.

  After months of public deliberation regarding potential district configurations, the

  Senate unanimously passed Senate Joint Resolution 100 (the “Enacted Plan”) to
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  apportion Florida’s legislative districts on February 3, 2022. One month later, after

  no party objected or challenged the map, the Florida Supreme Court affirmed the

  validity of the legislative apportionment under the Florida Constitution. In re

  Senate Joint Resol. of Legis. Apportionment 100, 334 So. 3d 1282 (Fla. 2022).

        More than two years passed before Plaintiffs filed suit. Their Complaint

  contains a single cause of action alleging that two senate districts in the Tampa Bay

  region—Districts 16 and 18—are “racially gerrymandered in violation of the

  Fourteenth Amendment.” Compl. at 1. This claim fails for multiple reasons.

        First, although Plaintiffs’ Complaint contains only one cause of action, this

  single claim attempts to challenge two different districts on two distinct theories.

  Plaintiffs allege that District 16 is racially gerrymandered because it combines in a

  single district “disparate and distinct” black communities in Tampa and St.

  Petersburg. Compl. at 1. But as to District 18, Plaintiffs allege only that its shape

  resulted from the configuration of District 16. This “impact theory” concept of

  racial gerrymandering has been expressly rejected by the Supreme Court. Because

  Plaintiffs make no allegations that District 18 itself was racially gerrymandered,

  their challenge to that district necessarily fails as a matter of law. The Court should

  grant summary judgment to Defendants on Count I as to District 18, and also grant

  summary judgment against Plaintiffs Garcia and Azis, who reside in District 18,

  because they lack standing to challenge District 16.


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        Second, Plaintiffs’ claims as to District 16 are also deficient as a matter of law.

  Although pleaded in the language of a federal Equal Protection claim, the

  Complaint’s allegations regarding District 16 are, at their core, claims that the

  Enacted Plan does not comply with redistricting standards imposed by the Florida

  Constitution. Plaintiffs assert that their preferred alternative configurations of

  District 16 would better promote criteria such as compactness and adherence to

  political and geographical boundaries while achieving similar racial metrics to the

  Enacted Plan. Although these arguments may be cognizable in state court under

  the Florida Constitution, they do not amount to a claim under the Fourteenth

  Amendment. Sovereign immunity prohibits federal courts from exercising

  jurisdiction over this sort of state-law claim disguised as a violation of federal law.

        Finally, on the undisputed material facts, Plaintiffs’ claim that District 16 is

  a racial gerrymander fails as a matter of law. This claim requires proof that facially

  neutral district lines are “unexplainable on grounds other than race.” Miller v.

  Johnson, 515 U.S. 900, 905 (1995) (quoting Shaw v. Reno, 509 U.S. 630, 644 (1993)). But

  the undisputed evidence proves that the contrary is true: District 16 is compact

  both visually and by quantitative measures, adheres to political and geographical

  boundaries, and maintains a historical configuration joining portions of Tampa

  and St. Petersburg in a single district. Plaintiffs offer no direct evidence that racial

  considerations improperly predominated, and the undisputed deposition


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  testimony of the Florida Senate’s map drawer establishes that race was considered

  only to the extent required by law and as one of multiple factors influencing

  District 16’s configuration.

        Defendants are entitled to summary judgment as a matter of law.

             Relevant Background and Statement of Undisputed Facts

    Florida Legislature Approves Enacted Plan in 2021-22 Redistricting Process

        Following the 2020 Census, the Florida Legislature was required to redraw

  the state’s congressional and legislative districts. Ex. 1 at 3-5 (Florida Senate

  Committee Meeting Expanded Agenda Sept. 20, 2021). At its first two meetings,

  the Senate Committee on Reapportionment received informational briefings on

  the census data and legal requirements governing redistricting. Exs. 1, 2 (Florida

  Senate Committee Meeting Expanded Agendas Sept. 20 and Oct. 11, 2021

  (including presentation on federal and state legal requirements)).

        On October 18, 2021, the Committee unanimously adopted a series of

  directives establishing priorities and standards that would govern the drawing of

  senate district maps by professional staff. Exs. 1, 2, 3 (Rodrigues Memo to Ferrin).

  The Senate Select Subcommittee on Legislative Reapportionment held three public

  meetings to workshop and comment on staff-drawn draft maps. Exs. 4-6 (Florida

  Senate Select Subcommittee Meeting Expanded Agendas Nov. 17, 29, 2021 and Jan.

  10, 2022). At a Reapportionment Subcommittee meeting, staff director Jay Ferrin


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  explained that the “districts were drawn to be as nearly equal in population as

  practical with district population deviations of less than 1% of the ideal

  population,” “to be visually compact in relation to their shape and geography,”

  using “mathematical scores . . . where appropriate,” and “county boundaries

  where feasible.” Ex. 7 at 4:17-21 (Legislative Reapportionment Subcommittee Nov.

  17, 2021).

         The Select Subcommittee heard public testimony at one meeting on an

  alternative district configuration proposed by Mr. Nicholas Warren.1 Ex. 11 at

  44:15-21 (Warren Depo). Mr. Warren justified his preferred configuration of the

  Tampa Bay region districts on “Tier Two” grounds. See Ex. 7 at 30:5-10, 31:1

  (Warren testimony that his concern was limited to “one issue with Tier-Two

  compliance” and that his proposed map had “Tier-Two advantages”). Mr. Warren

  did not assert that the staff-drawn configuration of the Tampa Bay districts was a

  “racial gerrymander.” Ex. 11 at 44:15-21 (Warren Depo). No senator proposed an

  amendment incorporating Mr. Warren’s configuration.2



  1 Although Mr. Warren is an attorney for the ACLU of Florida (and is lead counsel for Plaintiffs

  here), he did not disclose his affiliation in his legislative testimony and asserts that he appeared
  solely in his private capacity. Exs. 8, 9 (Rodrigues Memo to colleagues, Warren Response Letter).
  His employer also disavowed any connection to his committee testimony. Ex. 10 (ACLU Letter to
  Senate).
  2 Evidence produced during discovery tends to confirm that race was not the Senate’s

  predominant consideration in the configuration of the Tampa Bay senate districts. That evidence
  includes more than 270 pages of private messages during the redistricting process between Mr.
  Warren and Matthew Isbell, a political operative working for the Florida Democratic Party and
  its candidates on redistricting matters. In those messages Mr. Warren agreed with Mr. Isbell’s
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         At the January 10, 2022, meeting, the Select Subcommittee recommended

  two maps for consideration by the Committee. On January 13, 2022, the

  Reapportionment Committee held a final meeting and advanced legislation

  adopting one of those proposed maps. After adopting amendments to renumber

  the districts and eliminate minor splits in five cities, the Committee favorably

  reported CS/SJR 100 by a vote of 10-2.3 The full Senate passed CS/SJR 100 on

  January 20, 2022. Fla. S. Jour. 215 (Reg. Sess. 2022). After the Florida House of

  Representatives adopted an amendment to add the representative districts, the

  Senate unanimously concurred in the House amendment and passed the Enacted

  Plan by a vote of 37-0. Fla. S. Jour. 325 (Reg. Sess. 2022).

                          Plaintiffs’ Challenge to the Enacted Plan

         The five Plaintiffs here filed a lawsuit more than two years later, challenging

  Districts 16 and 18 under the Fourteenth Amendment. The Complaint claims that

  District 16 was drawn to avoid diminishing black voters’ influence, Compl. ¶93,

  impermissibly       using race-conscious            criteria     while   ignoring   race-neutral

  considerations, Compl. ¶95. Plaintiffs allege that, as a result of the drawing of



  observation that the racial composition of the Senate’s “plan is almost the same as mine. . . . The
  pinellas portion isnt even that black since they grab a ring of white liberal Dems as well.” Ex. 12
  at SEN-0002768 (Warren/Isbell messages). Mr. Warren then boasted that his own proposed
  alternative map “has a higher black share of Dem primary than the benchmark!!” Id. at SEN-
  0002769.
  3 The Florida Senate, Committee Vote Record,

  https://www.flsenate.gov/Session/Bill/2022/100/Vote/2022-01-
  13%200130PM~S00100%20Vote%20Record.PDF.
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  District 16, District 18 was “stripped of Black residents,” Compl. at 1, and left

  “artificially white,” Compl. ¶99.

        The Complaint does not allege that District 18’s lines were drawn with

  impermissible race-conscious purposes or criteria. Instead, Plaintiffs’ claim as to

  District 18 is based exclusively on the “impact” that adjacent District 16’s

  configuration had on District 18’s shape and demographic composition. Plaintiffs

  Garcia and Azis live in District 18. Compl. ¶¶18-19; Ex. 13 at 2 (Garcia’s Answer

  to Senate’s First Set of Request for Admission); Ex. 14 at 1 (Aziz’s Answers to

  Senate’s First Set of Requests for Admission). Plaintiffs’ claim against District 16

  alleges that the Legislature incorrectly implemented the Florida Constitution’s

  Tier One and Tier Two criteria, and gave too much weight to race when

  redistricting. See Compl. ¶¶ 104, 109, 117, 131-132. In effect, Plaintiffs assert that

  the Enacted Plan violates the Florida Constitution’s redistricting standards and,

  therefore, the Fourteenth Amendment. Id. ¶¶7-9, 33-43, 47-48, 57-60, 65, 67-68, 78-

  80, 85, 104, 106-107, 109, 117-118, 123-124, 131-132.

        But the Reapportionment Committee’s directives to staff show that

  traditional redistricting criteria, such as those in Tier Two of the Florida

  Constitution, were not subordinated to predominant racial concerns in the

  configuration of the senate districts. Ex. 3 (Rodrigues Memo). The Senate’s witness

  confirmed in deposition that “[t]he criteria that [the Senate redistricting] team and


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  the committee followed were the ones laid out in that memorandum, which were

  to. . . adhere to tier-one and tier-two standards, to not consider any political data

  and not consider any residential information about members, incumbency.” Ex. 15

  at 13:15-24 (Ferrin Depo). And he further testified that the Senate “always”

  followed the principles outlined in the 2021 Rodrigues Memo. Id. at 48:19-24.

         Other undisputed evidence also shows that race did not predominate in the

  configuration of District 16. For more than three decades, a Florida senate district

  has combined portions of Tampa and St. Petersburg. The Enacted Plan maintains

  that configuration while improving the compactness and boundary usage metrics

  for this Tampa Bay district. Ex. 16 (Historical Districts Composite Exhibit);4 see also

  Ex. 17 at Fig. 8 (McCartan Report). And Plaintiffs’ own alternative maps show

  roughly the same racial composition for District 16 as the Enacted Plan. Compare

  Ex. 18 (Barreto Report at 3, 7 (Plan A BVAP of 30.8%, Plan B BVAP of 30.8%, and

  Plan C BVAP of 30.0%)), with Ex. 19 (Enacted Map VAP Summary Report (Dist. 16

  of 33.2%)).

         Plaintiffs themselves concede that they have no direct evidence that the

  districts were drawn with race as the predominant factor. Ex. 20 at 39:10-15 (Garcia



  4 Pursuant to Federal Rule of Evidence 201(b)(2), President Albritton respectfully requests that

  the Court take judicial notice of Exhibit 16, which “can be accurately and readily determined from
  sources whose accuracy cannot reasonably be questioned,” as it is a composite of documents
  created by the Florida Senate and available on the Florida Senate’s website here:
   https://www.flsenate.gov/Session/Redistricting/MapsAndStats.
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  Depo); Ex. 21 at 35:6-13 (Azis Depo); Ex. 22 at 35:10-15 (El-Amin Depo); Ex. 23 at

  26:22-27:5, 38:23-39:15 (Seymour Depo); Ex. 24 at 34:4-14, 48:5-14 (Nord Hodges

  Depo). Nor were Plaintiffs’ experts able to offer sufficient circumstantial evidence

  of racial predominance to withstand summary judgment. Plaintiffs’ expert witness

  Dr. Barreto testified that he believes certain portions of district boundaries were

  drawn based upon race only because they could not have been created by

  “chance.” Ex. 25 at 82:23-83:3 (Barreto Depo). Dr. Barreto did not conduct a

  comprehensive review of non-racial explanations and could not exclude the

  possibility that district lines followed specific political or geographic boundaries.

  Other than Tampa Bay, Dr. Barreto could not identify any portions of District 16

  where such boundaries were not followed, and conceded that he did not analyze

  whether District 16’s lines followed roads. Id. at 72:2-14, 77:2-78:21.

        Plaintiffs’ other expert witness, Dr. McCartan, conceded that drawing

  district lines necessarily involves considering many factors. Even as to Plaintiffs’

  own alternative maps, Dr. McCartan was able to testify only that

        race helped inform the overall configuration of the district. But any
        boundary portion, any decision there, had implications for the rest of
        the other boundaries, the rest of the map . . . . So I’m not able to look
        at a portion of a boundary that I drew here and tell you, you know,
        this was, you know, this percentage due to race or what have you.

  Ex. 26 at 53:5-13 (McCartan Depo).




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                                    Legal Standard

      Summary judgment is proper when a party can show (i) there is no genuine

dispute of material fact and (ii) the party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56. Which facts are “material” depends on the substantive law that

applies to the claim at issue. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

The moving party bears the burden of showing that no genuine issue of material

fact exists. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991).

      To succeed in a racial gerrymandering challenge, a plaintiff bears the burden

to show that the legislature used race as the “predominant” motive in drawing

district lines. Miller, 515 U.S. at 916. A plaintiff must “prove that the legislature

subordinated traditional race-neutral districting principles, including but not

limited to compactness, contiguity, and respect for political subdivisions or

communities defined by actual shared interests, to racial considerations.” Id. The

burden is a “demanding” one. Id. at 928 (O’Connor, J., concurring). Courts

approach any inquiry into the legislature’s motives in a gerrymandering case with

“extraordinary caution,” Miller, 515 U.S. at 916, starting with the “presumption

that the legislature acted in good faith,” Alexander v. S.C. State Conf. of the NAACP,

602 U.S. 1, 6 (2024). The presumption is “especially stringent” in redistricting cases,

requiring “district courts to draw the inference that cuts in the legislature’s favor




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when confronted with evidence that could plausibly support multiple

conclusions.” Alexander, 602 U.S. at 10-11.

      Underlying this presumption is the reality that redistricting is a “most

difficult subject”—one that presents a “complex interplay of forces” and requires

the “balance [of] competing interests.” Miller at 915-16. State legislatures must

clear a “legal obstacle course,” Abbott v. Perez, 585 U.S. 579, 587 (2018), navigating

“delicately balanced requirements regarding the consideration of race,” id. at 585.

Thus, federal courts recognize that scrutinizing reapportionment plans

“represents a serious intrusion on the most vital of local functions,” Miller, 515.

U.S. at 915, and that a plan grouping voters of a certain race into the same district

may well “reflect wholly legitimate purposes,” Shaw, 509 U.S. at 646. “[T]o avoid

summary judgment, the non-movant must cite ‘significantly probative evidence’

that ‘demonstrates a genuine dispute of material fact.’” Atkins v. Sarasota Cnty., 457

F. Supp. 3d 1226, 1231 (M.D. Fla. 2020) (granting summary judgment against

plaintiffs in a racial gerrymandering case and citing Anderson, 477 U.S. at 249-250).

                                     Argument

      A.     On the undisputed facts, Plaintiffs’ “impact theory” claim against
             District 18 fails as a matter of law.

      Plaintiffs’ racial gerrymandering claim as to District 18 fails as a matter of

law, as it is premised entirely on their claim regarding a neighboring district’s

shape. The Supreme Court has rejected this sort of “impact theory,” holding that

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claims like Plaintiffs’ against District 18 are nonjusticiable. United States v. Hays,

515 U.S. 737 (1995). In Hays, four voters alleged that the Louisiana Legislature

racially gerrymandered the State’s school districts. Id. at 740-41. The Court agreed

with plaintiffs that race impermissibly motivated the drawing of two districts. Id.

But the plaintiffs resided in a different district—one which they alleged was

“segregated” because of the racially gerrymandered shape of the other two

districts. Id. at 746. The Court held that the four voters lacked standing, explaining

that, to challenge a district as racially gerrymandered, a voter must either reside

in the district or otherwise “demonstrate that he or she, personally, has been

injured by” the alleged racial classification. Id. at 744-45.

      The fact that the plaintiffs in Hays resided in a district that was impacted by

the shape of a neighboring, racially gerrymandered district was not sufficient to

confer standing. 515 U.S. at 745. And alleged racial motivations behind drawing

other districts did not “prove anything about the legislature’s intentions with

respect to [plaintiffs’ district],” nor did the record “reflect that the legislature

intended [plaintiffs’ district] to have any particular racial composition.” Id. at 746.

Thus, the plaintiffs’ allegation that “the racial composition of District 5 would have

been different if the legislature had drawn District 4 in another way” failed to

“allege a cognizable injury under the Fourteenth Amendment.” Id. So too here.




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      The Supreme Court reaffirmed this principle in Sinkfield v. Kelley, 531 U.S.

28 (2000). The plaintiffs in Sinkfield alleged that the Alabama Legislature racially

gerrymandered state legislative districts when it intentionally created certain

majority-minority districts. Id. at 28-29. But the plaintiffs did not live in those

districts; they lived in “adjacent” districts that “bordered” the majority-minority

districts. Id. at 29. The Sinkfield plaintiffs, like Plaintiffs Garcia and Azis here,

alleged that the shapes of their districts were the “product” of racial

gerrymandering, id., claiming that the configurations of their districts “were

necessarily influenced by the shapes of the majority-minority districts upon which

they border,” id. at 30. Reiterating its ruling in Hays, the Court called that case

“essentially   indistinguishable”   and    reiterated    that   one   district’s   racial

gerrymander does not mean that the “neighboring” district was also racially

gerrymandered. Id. at 30-31.

      Both Hays and Sinkfield stand for the proposition that a racial-gerrymander

claim challenges an individual district, and courts do not attempt to guess which

other districts would have been drawn differently but for the impermissible

motivations behind one racially gerrymandered district. And in both cases, the

Supreme Court remanded to the district court with instructions to dismiss the

complaint. In light of this clear and settled precedent, Plaintiffs’ impact-theory

claim as to District 18 should go no further. And because it is undisputed that


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Garcia and Azis live in District 18, Ex. 13 at 2 (Garcia’s Answer to Request for

Admission); Ex. 14 at 1 (Azis’s Answer to Request for Admission), summary

judgment should be granted dismissing them from the case for lack of standing.

      B.     Sovereign immunity bars Plaintiffs’ claim, which is a disguised
             state-law claim brought against state actors.

      Plaintiffs’ cause of action, although styled as an equal-protection challenge

under the Fourteenth Amendment, focuses almost exclusively on the Florida

Constitution’s redistricting standards. See, e.g., Compl. ¶¶7-9, 33-43, 47-48, 57-60,

65, 67-68, 78-80, 85, 104, 106-107, 109, 117-118, 123-124, 131-132. Plaintiffs allege,

for example, that “the Legislature did not narrowly tailor its use of race to comply

with the Fair Districts Amendment,” id. ¶104, and that it “dramatically sacrific[ed]

the race-neutral principles embodied in Tier Two [of Florida’s Fair Districts

Amendment],” id. ¶109. Plaintiffs further allege that the Florida Legislature did

not “properly evaluat[e] whether” alternative maps “more narrowly tailored the

use of race while complying with the Fair Districts Amendment.” Id. ¶117. And

Plaintiffs allege that the Legislature did not have “good reasons to believe that the

Enacted Plan was necessary to achieve Tier One compliance,” id. ¶131, or “to

conclude that Tier One required subordinating redistricting principles and Tier

Two criteria to race,” under the Florida Constitution, id. ¶132.

      But a federal court has no jurisdiction over state actors for purported past

violations of state law. A state generally cannot be sued without its consent. Ex
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Parte Young, 209 U.S. 123, 150 (1908). And Ex Parte Young’s narrow exception to

sovereign immunity does not extend to suits asking federal courts to “instruct[]

state officials on how to conform their conduct to state law.” Pennhurst State Sch.

& Hosp. v. Halderman, 465 U.S. 89, 106 (1984). The Supreme Court explained in

Pennhurst that “it is difficult to think of a greater intrusion on state sovereignty”

than the sort of intrusion Plaintiffs ask for here, where a ruling on compliance with

the Florida Constitution would do nothing to “vindicate the supreme authority of

federal law.” 465 U.S. at 106.

      Accordingly, federal courts properly reject claims attempting to disguise an

alleged violation of state law as a violation of federal law. For example, when a

plaintiff sued Georgia alleging it had violated a state statute requiring the release

of escrow funds—which constituted a taking under the Fifth Amendment and a

related First Amendment violation—the Eleventh Circuit affirmed dismissal of the

plaintiff’s claim based on state sovereign immunity. S&M Brands, Inc. v. Georgia ex

rel. Carr, 925 F.3d 1198 (11th Cir. 2019). Because the “gravamen of the complaint”

dealt with the requirements of state law, the plaintiff could not ask a federal court

for a ruling that “the State has improperly interpreted and failed to adhere to a

state statute”: “Pennhurst bars such claims.” Id. at 1205 (cleaned up). Similarly,

when other plaintiffs sued Georgia for violating a state statute governing

reimbursement for local school-bus expenses—which, in turn, plaintiffs alleged


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violated the Fourteenth Amendment and two federal statutes—the Eleventh

Circuit assessed the “gravamen” of plaintiffs’ complaint and concluded that the

district court’s judgment “appears to be one for violation of state law.” DeKalb

Cnty. Sch. Dist. v. Schrenko, 109 F.3d 680, 688 (11th Cir. 1997). Under the

fundamental principle of sovereign immunity, the Court “lacked authority to

entertain [such a] claim.” Id. at 692

      Here, too, where “the gravamen of the complaint appears to be that the State

improperly interpreted and failed to adhere to [the Florida Constitution’s

redistricting standards], there is a Pennhurst problem.” Fair Fight Action, Inc. v.

Raffensperger, No. 1:18-CV-5391-SCJ, 2019 WL 13221296, at *5 (N.D. Ga. Dec. 27,

2019); see also Ford v. Strange, No. 2:13-CV-214-WKW, 2013 WL 6804191, at *9 n.10

(M.D. Ala. Dec. 23, 2013) (“The disguising of state-law claims as federal-law claims

would raise a Pennhurst problem,” as it “would require state officials to conform

with [state law] as Plaintiffs interpret it”), aff’d, 580 F. App’x 701 (11th Cir. 2014).

It is the substance of the complaint, not its label, that determines whether state

sovereign immunity bars a claim. Here, “despite references to the United States

Constitution in the pleadings, the claims necessarily rely on a determination that

a state official has not complied with state law, a determination that is barred by

sovereign immunity.” Fair Fight Action, 2019 WL 13221296, at *5 (denying motion

for preliminary injunction on Pennhurst grounds where “the gravamen of the


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Plaintiffs’ pending motion appears to be that the Secretary of State (and therefore

the State of Georgia) has improperly interpreted and failed to adhere to Georgia’s

new voter list maintenance statute”); see also Balsam v. Sec’y of N.J., 607 F. App’x

177, 183 (3d Cir. 2015) (“Appellants’ attempt to tie their state law claims into their

federal claims is unpersuasive.”); Lake v. Hobbs, 623 F. Supp. 3d 1015, 1030 (D. Ariz.

2022) (“Courts have repeatedly rejected alleged federal constitutional claims that

rely on a determination that state officials have not complied with state law.”);

Bowyer v. Ducey, 506 F. Supp. 3d 699, 716 (D. Ariz. 2020) (“However, where the

claims are state law claims, masked as federal law claims, Ex Parte Young is

inapplicable and the Eleventh Amendment clearly bars the suit.”).

      C.     The undisputed facts establish that the Legislature used
             permissible reapportionment criteria not overridden by race.

      As construed by the Supreme Court, the Fourteenth Amendment does not

prohibit all consideration of race during the redistricting process. Indeed, the

Court recently reaffirmed that “[t]he line that we have long drawn is between

consciousness and predominance.” Allen v. Milligan, 599 U.S. 1, 33 (2023). The

undisputed material facts here establish that the Florida Senate permissibly

considered race as required by the Florida Constitution, but that race did not

predominate over non-racial factors such as compactness, contiguity, population

equality, and boundary usage in the development of the Enacted Plan.



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      To be sure, the Florida Senate was aware of race when developing the

Enacted Plan. Both the federal Voting Rights Act and the Florida Constitution

require consideration of race under certain circumstances. In its decision affirming

the validity of the legislative apportionment under the Florida Constitution, the

Florida Supreme Court noted that the Legislature had looked to “objective

statistical data” to confirm that the Enacted Plan would not “diminish minority

voters’ ability to elect representatives of their choice.” In re Senate Joint Resol. of

Legis. Apportionment 100, 334 So. 3d at 1290. But “awareness” of race does not

violate federal law, Miller, 515 U.S. at 916, and the undisputed material facts show

that the Florida Senate took several other factors into account that were not

outweighed by race. Because Plaintiffs’ asserted “evidence,” even if true, cannot

negate the “obvious” alternative explanations for the configuration of District 16,

the Florida Senate is entitled to summary judgment. See Alexander, 602 U.S. at 8

(The Supreme Court has “never invalidated an electoral map in a case in which

the plaintiff failed to adduce any direct evidence” of racial predominance.).

      While Plaintiffs’ claim of racial predominance focuses on the portion of

District 16 in Pinellas County, the Supreme Court has instructed courts to consider

“the legislature’s predominant motive for the design of the district as a whole.”

Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 192 (2017) (emphasis added).

Plaintiffs’ allegations regarding the black voting-age population in Ms. Garcia’s


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precinct and “two precincts across the street,” Compl. ¶22, or a district line vis a

vis Ms. Azis’s neighborhood, id. ¶21, are improperly hyperfocused on narrow

subsections of the district.

      Each plaintiff testified that he or she had no specific evidence that racial

criteria predominated in the redistricting process. See Ex. 20 at 39:13-15 (Garcia

Depo) (“Based on the geographical locations of the Black residents that are

contained in the districts outlined”); Ex. 21 at 35:9-13 (Azis Depo) (“I would have

to rely on any information that my attorneys have provided you for that and I can

speak to south St. Pete there is a large Black population there. I do not know about

any of the communities on the other side of the bay, however.”); Ex. 22 at 35:12-15

(El-Amin Depo) (“All I know is that to put—go across a body of water and put one

group in South St. Pete, in with the Hillsborough side, don’t seem as fair to me.”);

Ex. 23 at 39:1-3 (Seymour Depo) (“[O]ther than what is obvious on the map and

through – yeah, what’s on the map, I am not bringing any other sort of evidence.”);

Ex. 24 at 48:13-14 (Nord Hodges Depo) (“I’m not sure at this time, but I can’t see

why else you would need to draw a district in this way.”)

      Having no direct evidence of racial predominance, Plaintiffs resort to

supposed circumstantial evidence of the Legislature’s intent based on Plaintiffs’

general awareness of the racial composition of South St. Petersburg. But this

speculation does not provide material evidence of racial predominance. A district


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court granted summary judgment against plaintiffs in Johnson-Lee v. City of

Minneapolis, 2004 WL 2212044, at *1 (D. Minn. 2004), who raised similar arguments.

There, “plaintiffs testified that they believed that racial considerations

predominated” the redistricting process, pointing to racial composition of various

regions. Id. at *14. But, as here, the plaintiffs “do not have any direct or personal

knowledge of the Redistricting Commission’s intent to discriminate.” Id.

Therefore, “the testimony of plaintiffs that the Redistricting Commission’s racial

focus is obvious from the resulting map cannot, without corroborating evidence,

support their claim,” and summary judgment was warranted. Id. at *15, *17.

      The undisputed material facts show Plaintiffs fail the Arlington Heights test

for circumstantial evidence of racially discriminatory intent and effect. Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977). Under Arlington

Heights and its progeny, courts evaluate several factors:

      “[R]elevant evidentiary factors include substantial disparate impact,
      a history of discriminatory official actions, procedural and
      substantive departures from the norms generally followed by the
      decision-maker, and the legislative and administrative history of the
      decision. ... [E]vidence of the historical background of the decision is
      relevant to the issue of discriminatory intent.... Indeed, all actions
      having foreseeable and anticipated disparate impact are relevant
      evidence to prove the ultimate fact, forbidden purpose.

Burton v. City of Belle Glade, 178 F.3d 1175, 1189 (11th Cir. 1999) (cleaned up).

      First, Plaintiffs’ undisputed facts do not show a substantial disparate

impact—their own proposed maps reflect a similar racial composition in District
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16. Compare Ex. 18 (Barreto Report at 3, 7 (Plan A BVAP of 30.8%, Plan B BVAP of

30.8%, and Plan C BVAP of 30.0%)), with Ex. 19 (Enacted Map VAP Summary

Report (Dist. 16 of 33.2%)). Second, the undisputed facts show no “history of

discriminatory official actions” relevant to the configuration of a Tampa Bay state

senate district. Plaintiffs do not even allege any facts relevant to this factor. Third,

the undisputed facts reveal no “procedural” or “substantive departures” from the

Florida Senate’s ordinary legislative processes. The Complaint itself confirms that

the Enacted Plan was adopted following seven Senate committee and

subcommittee meetings, multiple presentations, public testimony, and debates on

numerous alternative maps. Compl. ¶¶45-92.

      Although Plaintiffs ostensibly point to supposed “circumstantial evidence”

of racial predominance based on the district’s “shape and demographics,” Compl.,

¶97, the Florida Supreme Court has concluded that the Senate districts in the

Enacted Plan “are visually at least as compact as the districts that they replace—in

many cases more so.” In re Senate Joint Resol. of Legis. Apportionment 100, 334 So. 3d

at 1287. It is also undisputed that the Enacted Plan demonstrates a high use of

“existing political and geographical boundaries”—82% in District 16. Id. at 1288;

Ex. 17 at 11 (McCartan Report). Like many other districts in the plan, District 16

comprises part of two neighboring counties. And District 16 is an improvement

upon its immediate predecessor district on several race-neutral criteria. District 16


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is visibly more compact, better utilizes political and geographic boundaries, and

has higher quantitative compactness scores than its predecessor configurations in

the 1992, 1996, 2002, 2012, and 2016 plans, all of which were court-approved and

some of which were court-ordered. Ex. 16 (Historical Districts Composite Exhibit).

Plaintiffs’ expert Dr. Barreto does not dispute these facts (see generally Ex. 18

Barreto Report), and Dr. McCartan confirms that District 16 has become more

geographically compact (Ex. 17 (McCartan Report at 14-16, 21)). Given District 16’s

adherence to traditional redistricting criteria, Plaintiffs cannot establish that its

shape is so “highly irregular” or “bizarre” that it provides circumstantial evidence

of racial predominance. Cooper v. Harris, 581 U.S. 285, 308 (2017).

      The undisputed material facts refute Plaintiffs’ claim that District 16 is an

unconstitutional racial gerrymander. Of course, a legislature engaged in

redistricting will “almost always be aware of racial demographics, but such race

consciousness does not lead inevitably to impermissible race discrimination.”

Allen, 599 U.S. at 30 (cleaned up); see Miller, 515 U.S. at 916 (“Redistricting

legislatures will, for example, almost always be aware of racial demographics; but

it does not follow that race predominates in the restricting process.”). Where, as

here, mapmakers considered traditional redistricting criteria, like compactness,

contiguity, political and geographic boundary usage, and population equality—

and merely considered race—a racial gerrymander claim fails. Allen, 599 U.S. at


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31-32. Uncontested deposition testimony establishing that the Senate carefully and

intentionally drew the district lines based on these precise constitutional criteria

defeats Plaintiffs’ claim. Ex. 15 at 13:15-24, 14:6-9, 48:19-49:6, 55:11-15 (Ferrin

Depo); see also id. at 52:11-54:22, 86:1-87:2 (Senate drew the district lines and then

looked to confirm that the districts complied with the Florida Constitution’s non-

diminishment standard); Ex. 27 at 4 (Senate’s Responses and Objections to

Plaintiffs’ First Set of Interrogatories) (Senate’s objectives in drawing District 16

were “to comply with the applicable provisions of state and federal law . . .

including the Florida Constitution’s requirements that districts be as equal in

population as practicable, compact, and use existing political and geographical

boundaries where feasible.”)

      The fact that Plaintiffs’ alternative plans contain a similar black voting age

population in their District 16 to that in the Enacted Plan further undercuts any

suggestion that racial considerations predominated. Compare Ex. 18 (Barreto

Report at 3, 7 (Plan A BVAP of 30.8%, Plan B BVAP of 30.8%, and Plan C BVAP of

30.0%)), with Ex. 19 (Enacted Map VAP Summary Report (Dist. 16 of 33.2%)).

      Moreover, comparing the evidence here on shape and demographics with

the evidence in cases where racial predominance was found shows that Plaintiffs

lack material facts entitling them to relief. For example, when “Alabama expressly

adopted and applied a policy of prioritizing mechanical racial targets above all


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other districting criteria (save one-person, one-vote),” that constituted “evidence

that race motivated that drawing of particular lines in multiple districts.” Ala. Leg.

Black Caucus v. Ala., 575 U.S. 254, 267 (2015). Elsewhere, “drawing of narrow land

bridges to incorporate within the district outlying appendages containing nearly

80% of the district’s total black population”—in addition to “considerable

additional evidence” in the form of witness testimony to the use of race—was

enough to support a claim for racial gerrymander. Miller, 515 U.S. at 917.

Conspicuous combinations of “high population deviation” and “twisted shapes”

or “an iguana-like shape” have been found to “bear witness to racial motivation.”

Abrams v. Johnson, 521 U.S. 74, 89 (1997). And the government avoids summary

judgment when a challenged district reflects “low scores with respect to

traditional measures of compactness” as well as “statistical evidence prov[ing] the

State had ignored traditional districting criteria,” plus the district being “the only

one statewide to contain no undivided county.” Hunt v. Cromartie, 526 U.S. 541,

547-48 (1999). In practice, plaintiffs typically “need to show that the State’s chosen

map conflicts with traditional redistricting criteria.” Alexander, 602 U.S. at 8. But

Plaintiffs here are unable to garner any similar facts here showing a conflict.

      Given this undisputed evidence that “the redistricting plan carefully was

drawn utilizing traditional redistricting principles while seeking to comply with

[other legal duties] by giving minority candidates the opportunity to be elected to


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political office,” “plaintiffs have failed to substantiate a claim of racial

gerrymandering in violation of the Equal Protection Clause.” Robertson v. Bartels,

148 F. Supp. 2d 443, 458 (D.N.J. 2001), aff’d, 534 U.S. 1110 (2002) (granting summary

judgment for state); see also DeWitt v. Wilson, 856 F. Supp. 1409, 1413 (E.D. Cal.

1994) (granting summary judgment in favor of the state when undisputed facts

showed that the challenged “redistricting plan . . . was consistent with traditional

redistricting principles, not solely based on race, and not involving extremely

irregular district boundaries”).

                               Respectfully submitted,


                                          /s/ Daniel Nordby
CARLOS REY (FBN 11648)                    RICKY L. POLSTON (FBN 648906)
FLORIDA SENATE                            DANIEL E. NORDBY (FBN 14588)
404 South Monroe Street                   DENISE M. HARLE (FBN 81977)
Tallahassee, Florida 32399                TARA R. PRICE (FBN 98073)
(850) 487-5855                            ALYSSA L. CORY (FBN 118150)
Rey.Carlos@flsenate.gov                   KASSANDRA S. REARDON (FBN 1033220)
                                          SHUTTS & BOWEN LLP
                                          215 South Monroe Street, Suite 804
                                          Tallahassee, Florida 32301
                                          (850) 241-1717
                                          RPolston@shutts.com
                                          DNordby@shutts.com
                                          DHarle@shutts.com
                                          TPrice@shutts.com
                                          ACory@shutts.com
                                          KReardon@shutts.com

       Counsel for Florida Senate President Ben Albritton, in his official capacity




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                          CERTIFICATE OF SERVICE


      I hereby certify that on January 2, 2025, I electronically filed the foregoing

with the Clerk of Court by using CM/ECF, which automatically serves all counsel

of record for the parties who have appeared.

                                             /s/ Daniel Nordby_____
                                             Attorney




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